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ATTACHMENT Q
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In the United States Court of Appeals
for the Third Circuit

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United States of America
OV
Daniel Jenkins 64784-050

Cr. No. 2:13-cr-00646-WHW-1
Docket NO: 14-1825

Motion to Dismiss and Appoint New Counsel

Now comes, Petitioner, Daniel Jenkins, in pro se capacity,
via plea to this Honorable Court to dismiss as appellate counsel,
Michael V. Gilberti, ESQ., and appoint new counsel Pursuant to the
Title 18 U.S.C. 3006A, and Rule 8 (a) (2); a pleading that states
a claim for relief must aver a short and plain statement of the
Claim showing that the pleader is entitled to relief. Petitioner
aver the following in Support to dismiss counsel and appoint new
counsel.

1) Petitioner was indicted on allegations that between, May 31,
2012, and September 10, 2012, in Hudson County, NJ., did knowingly
and intentionally conspire and agree with others to distribute a
controlled substance; referenced: a mixture of heroin.

2) Attorney Michael V. Gilberti represented, both, Petitioner

and his co-defendant, John Edwards, in this criminal prosecution,
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which the District Court held a hearing in notification of the
possibility of a conflict of interest based on the duel representation.

3) The Court explained to Petitioner, relevant, potential
conflicts of interest that may arise, in pertinent part, that
Petitioner would unlikely be able to receive a benefit of a reduced
sentence based on cooperation if he decides to allow Gilberti to
continue representation of both, he and Edwards.

4) Based on the Court's and Gilberti's contention, Petitioner
was led to believe that the same applied to Edwards' pleading as
well.

5) It appears that Edwards, contrary to the Court's and
Gilberti's initial contention, did receive a benefit partial from
the duel representation, as both, Petitioner and Edwards should
have been subject of the penalty incurred for career offenders, but
Edwards through separate hearings received a 48 month sentence
opposed to Petitioner's 188 month sentence.

6) The District Court had also explained to Petitioner that
neither the attorney, nor the Government, not even the Court can
foresee the potential conflict of interest based on the simultaneous
representation, but Petitioner, in all, was led to believe that
he nor Edwards based on the duel representation would receive a
benefit, which clearly had not been the outcome of litigations.

This agreement has been breached, and the said agreement was the
basis for Petitioner to continue duel representation.

7) Petitioner was instructed by the District Court that he
could appeal his sentence and directed his attorney, Gilberti, to
file a notice of appeal, Petitioner has not talked to Gilberti

since sentencing, and was not notified about the appellate provisions
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nor even if the notice of appeal was filed, and, therefore, had
inquired to this Court on the status of the supposed litigation
of the desired appeal.

8) On, August 7, 2014, this Court notified Petitioner that
it is waiting for the remaining case opening form to be filed
by, Michael V. Gilberti, and that an order was issued to Gilberti
to show cause as to why he has Failed to file the required transcript
purchase order form, and that he has until, August 8, to respond
“to the order or he must appear before the Attorney-Hearing officer.

9) Petitioner still has not heard from Gilberti despite
continuous attempts to correspond, so, in response to Gilberti's
negligence Petitioner has proceeded to file disciplinary actions
against Gilberti, based on all of the above mentioned, and
continued negligence.

10) Michael V. Gilberti's representation is subject of
a conflict of interest during the District Court litigations as
well as the Appellate Court. Therefore, in the interest of Justice
and integrity of the Courts, Gilberti should be dismissed as

counsel and new counsel should be appointed.

Date: 4/32/14 Respectfully submitted, .

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CERTIFICATE OF SERVICE

r, Wan: e | Jen! WS , do hereby certify

under the penalty of perjury, 28 U.S.C. § 1746 that I have
served a true and correct copy of the following documents to
be mailed to the following person, or parties, listed below
which pursuant to Houston v. Lack, 487 U.S. 266 (1988), is
deemed filed at the time it was delivered to prison
authorities for forwarding to the Court, and service upon
persons, or parties to this litigation, and/or their Attorney
of record.

I have placed the documents referenced above ina
properly sealed envelope with First-Class Postage affixed, and
I addressed it to:

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United States

I have also deposited said envelope via hand delivery

to the Mail Room staff at the:

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Respectfully Submitted,

 
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